                       UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MASSACHUSETTS


JOHN QUINLAN,

            Plaintiff,                    Civil Action No. 1:20-cv-11593-RWZ
     v.

QUAD/GRAPHICS, INC.,

            Defendant.


                 DECLARATION OF STEPHEN MELNICK, ESQ.

    I, Stephen Melnick, Esq., hereby depose and state as follows:

    1.     I am over the age of 18 and make the statements contained in this Declaration based

           on my personal knowledge. I am competent to testify as to all facts stated herein.

    2.     I represent Quad/Graphics, Inc. in the above-captioned matter.

    3.     On July 2, 2020, Plaintiff John Quinlan’s lawyer, John Fink, Esq., sent an email to

           counsel for Quad/Graphics on behalf of Mr. Quinlan, which said: “my client would

           be amenable to signing a release, but not the additional items completed in the

           separation agreement.”

    4.     On July 17, 2020, Mr. Fink sent an email to counsel for Quad/Graphics on behalf

           of Mr. Quinlan, which said: “Mr. Quinlan is prepared to accept payment of [h]is

           annualized take home averaged over the past two years for the duration of a non-

           compete/non-solicitation agreement as a separation agreement.”

    5.     On August 5, 2020, on behalf of Quad/Graphics, I sent a revised separation

           agreement, deleting the so-called “additional items” Mr. Fink had referenced in his

           email of July 2, 2020.
       6.      Mr. Fink did not present a counter-offer on Mr. Quinlan’s behalf before filing this

               lawsuit.

       7.      Mr. Fink left me a voicemail and sent me an email the afternoon of August 26, 2020

               regarding remand, but filed Plaintiff’s Motion to Remand before I could respond.




I declare under the penalties of perjury that the foregoing is true and correct. Executed

September 8, 2020.



/s/ Stephen Melnick
Stephen Melnick




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 9th day of September 2020, a true copy of the foregoing

document was filed electronically through the Court’s CM/ECF system, is available for viewing

and downloading from the ECF system, will be sent electronically to counsel of record as

registered participants identified on the Notice of Electronic Filing and via first class mail to all

non-registered participants identified on the Notice of Electronic Filing.

                                                      /s/ Stephen Melnick
                                                      Stephen Melnick




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